         Case 1:21-cv-07395-RA-KHP Document 68 Filed 12/17/21 Page 1 of 1

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                                                                    ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                        DOC#:
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 12/17/2021

 FRHUEB, INC.,

                                 Plaintiff,                        21-CV-7395 (RA)

                         v.                                              ORDER

 THIAGO SABINO DE FREITAS ABDALA
 and PRISCILA PATTO,

                                 Defendants.

RONNIE ABRAMS, United States District Judge:

         It is hereby ORDERED that:

         In light of the fact that the motion to disqualify is now before Judge Parker, the

December 21, 2021 hearing is hereby adjourned. See Docket 37.


SO ORDERED.
Dated:    December 17, 2021
          New York, New York
                                                               ______________________________
                                                               Ronnie Abrams
                                                               United States District Judge
